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LR Civ P 3.5 Form (06/08/2017)

UNITED STATES DISTRICT COURT

Southern District of West Virginia, Division: CHARLESTON
APPLICATION TO PROCEED
WITHOUT PREPAYMENT OF Ee an EF
Shaanun Toso : Michael Tar #3704094{ FEES AND COSTS | fd Bare Som He

V. CASE NUMBER: | MAY-9-7 opr
3: fcv 00344 | |

WV DOC, WY Stace Nusaing Board, Pram Coen” may ena

Southern District of West Virginia

I, Qrannon “Tau \or ( Mrtrovel Tenor) declare that I am the (check appropriate box)
Dy plaintiff/petitioner/movant 0 appellant CD other

in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees or costs
under 28 U.S.C. §1915, I declare that I am unable to pay the costs of these proceedings and that I am entitled to the
relief sought in the complaint/petition/motion/notice of appeal.

In support of this application, I answer the following questions under penalty of perjury:
1. Are you currently incarcerated? O Yes (If “Yes,” go to #3) }xNo (If “No,” go to # 2)

If “Yes,” state the place of your incarceration

Are you employed at the institution? Do you receive any payment from the institution?

Have the institution fill out the Certificate portion of this application and attach a ledger sheet from the
institution(s) of your incarceration showing at least the past six months’ transactions.

2. Are you currently employed? KE Yes (If “Yes,” goto#2.a) [INo (If “No,” go to #2.b)

a. Ifthe answer is “Yes,” state the amount of your take-home salary or wages and pay period and give the

name and address of your employer.
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b. Ifthe answer is “No,” state the date of your last employment, the amount of your take-home salary or wages

and pay period and the name and address of your last employer.

3. Inthe past 12 twelve months have you received any money from any of the following sources?

a. Business, profession or other self-employment i Yes O No
b. Rent payments, interest or dividends Yes hx No
c. Pensions, annuities or life insurance payments O Yes I No
d. Disability or workers compensation payments O Yes g No
e. Gifts or inheritances oO Yes No
f. Any other sources O Yes I No

If you answered “Yes” to any portion of question #3, describe each source of money and state the amount
received and what you expect you will continue to receive.

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4. Do you have any cash or checking or savings accounts? CO Yes EKNo

If “Yes,” state the total amount.

5. Do you own any real estate, stocks, bonds, securities, other financial instruments, automobiles or any other
thing of value? C] Yes Oo

If “Yes,” describe the property and state its value.

6. List the persons who are dependent on you for support, state your relationship to each person and indicate
how much you contribute to their support.

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7. Ido hereby stipulate that the recovery, if any, obtained in this action shall be paid to the Clerk of Court, who
shall pay therefrom, all unpaid costs taxed against plaintiff and pay the balance to plaintiff and/or his/her
attorney, if any.

I declare under penalty of perjury that the above information is true and correct.

Date Signature of Applicant

CERTIFICATE

(Incarcerated applicants only)
(To be completed by the institution of incarceration)

I certify that the applicant named herein has the sum of $ on account to his/her credit
at (name of institution) . I further certify that the applicant has the
following securities to his/her credit .
I further certify that during the past six months the applicant’s average balance was $ , and the

average of monthly deposits was $

Date Signature of Authorized Officer

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